                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                             CASE NO. 3:18-CV-635-DCK

 UNITED STATES OF AMERICA,                              )
                                                        )
                 Plaintiff,                             )
                                                        )
    v.                                                  )      ORDER
                                                        )
 APPROX. $2,209 IN UNITED STATES                        )
 CURRENCY, APPROX. $50,000 IN FUNDS,                    )
                                                        )
                 Defendants.                            )
                                                        )

         THIS MATTER IS BEFORE THE COURT sua sponte regarding the status of this case.

The parties have consented to Magistrate Judge jurisdiction pursuant to 28 U.S.C. § 636(c), and

immediate review is appropriate.

         On March 31, 2020, the undersigned granted the parties’ “Joint Motion To Stay”

(Document No. 13) and directed that a status report be filed “within fourteen (14) days of the

conclusion of the criminal case.” (Document No. 14). The related criminal trial concluded on or

about January 8, 2021, and resulted in the conviction of Claimant Thuy Tien Luong. See (3:20-

CR-079-KDB-DCK-1, Document No. 74). Neither side filed a status report.

         On January 21, 2022, the undersigned issued an Order directing that “counsel for the parties

shall file a Status Report within ten (10) days of Defendant Luong’s sentencing in the related case:

USA v. Luong, 3:20-CR-079-KDB-DCK.” (Document No. 17, p. 2). The undersigned also

ordered Defendant’s counsel, Wilbert Terry Sherrill to file a Status Report by January 28, 2022.

         Mr. Sherrill failed to file a Status Report, but did file a “Motion To Withdraw As Counsel”

(Document No. 18) on March 2, 2022. Mr. Sherrill’s “Motion To Withdraw…” was granted on

March 3, 2022. (Document No. 19). In that Order, the undersigned noted that




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               [t]his is the undersigned’s oldest pending case. Respectfully, it
               appears that resolution of the case has been delayed by the failures
               of counsel on both sides to keep the Court apprised of the status of
               the related criminal action, and of Claimant’s representation in this
               case. . . . This is all very frustrating, and the Court expects better.

(Document No. 19).

       The undersigned further noted that Mr. Sherrill had identified Steven T. Meier as Claimant

Thuy Tien Luong’s current counsel. Id. (citing Document No. 18, p. 3). As such, the Court

“ORDERED that Steven T. Meier shall file a Status Report and/or Notice of Appearance in this

case, on or before March 9, 2022, confirming whether or not he represents Claimant Thuy Tien

Luong in this civil action.” (Document No. 19, p. 2).

       To date, Mr. Meier has failed to file a Status Report and/or Notice of Appearance as ordered

by the Court on March 3, 2022. See (Document No. 19).

       The Honorable Kenneth D. Bell conducted a sentencing hearing regarding Thuy Tien

Luong in the related criminal action on June 15, 2022. USA v. Luong, 3:20-CR-079-KDB-DCK.

Judge Bell entered a “Judgment In A Criminal Case” on June 17, 2022, and, inter alia, ordered

restitution in the amount of $74,626.34. Id. at (Document No. 93). The related criminal action is

now being appealed to the United States Court of Appeals for the Fourth Circuit. Id. at (Document

No. 96).

       To date, Mr. Bain-Creed has failed to file a Status Report as ordered by the Court on

January 21, 2022. See (Document No. 17).

       IT IS, THEREFORE, ORDERED that Mr. Bain-Creed and Mr. Meier shall file Status

Reports on or before July 15, 2022.

       IT IS FURTHER ORDERED that the Government shall SHOW CAUSE why this action

should not be DISMISSED, or file a Stipulation Of Dismissal, on or before July 15, 2022.



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       IT IS FURTHER ORDERED that any additional failures by counsel and/or the parties to

abide by this Court’s Orders will likely lead to sanctions.

       The Clerk of Court is respectfully directed to send a copy of this Order to Steven T. Meier

by email and certified U.S. mail, return receipt requested.

       The Clerk of Court is further directed to send a copy of this Order to Claimant Thuy Tien

Long at the Catawba County Detention Facility, 100 Government Drive, Newton, NC 28658 by

certified U.S. mail, return receipt requested.

       SO ORDERED.




                                 Signed: July 7, 2022




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